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 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:17-CR-00065-DAD-BAM-1
12                      Plaintiff,
13           v.                                        STIPULATION AND ORDER FOR
                                                       COMPETENCY EXAMINATION
14   SAMUEL SANCHEZ,
15                      Defendant.
16

17           THE PARTIES TO THIS ACTION HEREBY STIPULATE, by and through their

18   respective attorneys of record regarding defendant’s competency, to the following court order:

19           It appearing to the Court that defendant, SAMUEL SANCHEZ, was indicted March 16,

20   2017, for violations of 21 U.S.C. §§ 846 and 841, that representations have been made by defense

21   counsel that defendant may be suffering from a mental disease or defect rendering him mentally

22   incompetent to the extent that he may be unable to understand the nature and consequences of the

23   proceedings against him or to assist properly in his defense; and that defendant stipulates to being

24   committed to the custody of the Attorney General for a psychiatric or psychological examination

25   to determine the defendant’s mental competency to stand trial.

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 1          IT IS, THEREFORE, ORDERED THAT:

 2          1.      Pursuant to 18 U.S.C. '' 4241 and 4247(b), the defendant is to be committed to

 3   the custody of the Attorney General for placement in a suitable facility to be examined for a

 4   reasonable period, but not to exceed thirty days. Unless impracticable, the psychiatric or

 5   psychological examination shall be conducted in a suitable facility closest to the court.

 6          2.      The director of the facility may apply for a reasonable extension, but not to exceed

 7   fifteen additional days, upon a showing of good cause that the additional time is necessary to

 8   observe and evaluate the defendant.

 9          3.      The psychiatric or psychological examination shall be conducted by a licensed or

10   certified psychiatrist or psychologist or, if appropriate, by more than one such examiner.

11          4.      The psychiatrists or psychologists at the designated facility are ordered to file a

12   psychiatric or psychological report with the court, with copies provided to the counsel for the

13   defendant and the attorney for the government. The report shall include the information required

14   by 18 U.S.C. ' 4247 (c), to wit;

15                  A.      The defendant’s history and present symptoms;

16                  B.      A description of the psychiatric, psychological and medical tests that were

17   employed and their results;

18                  C.      The examiner’s opinion as to diagnosis, prognosis, and whether defendant

19   is suffering from a mental disease or defect rendering him mentally incompetent to the extent that

20   he is unable to understand the nature and consequences of the proceedings against him or to assist
21   properly in his defense.

22          5.      The defendant is ordered to provide any medical documentation in his custody, if

23   any can be located, that is relevant to his examination to the U.S. Marshal’=s Service in Fresno,

24   California, by Friday, March 31, 2017. Upon receipt of this documentation, the U.S. Marshal’s

25   Service will forward it to the Bureau of Prisons so the Bureau can determine a proper facility by

26   which to place him for this examination. This documentation would best include those records
27   relevant to the examination, including those relevant to defendant’s competency, defendant’s

28   current medical prescriptions, records regarding defendant’s last tuberculosis test and the extent
                                                      2
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 1   defendant is able to be transported by airplane.

 2          Defendant shall remain in custody through the completion of his examination. The parties

 3   shall promptly ask that these matters be calendared on the court’s next available date upon his

 4   release from the Bureau of Prisons back to the custody of the U.S. Marshals. The status

 5   conference on calendar June 12, 2017 at 2:00 pm before Magistrate Judge Stanley A. Boone shall

 6   be vacated. Counsel for the parties shall next appear for competency proceedings before

 7   District Judge Dale A. Drozd at 1:30 p.m. in Courtroom 5 on the seventh floor. If the parties

 8   determine that more time is necessary for the competency examination to conclude before this

 9   date, they may file a stipulation stating the reasons by this date should be continued.

10

11   DATED: March 29, 2017                          PHILLIP A. TALBERT
                                                    United States Attorney
12
                                                     By: /s/ Jeffrey A. Spivak___
13
                                                    Jeffrey A. Spivak
14                                                  Assistant U.S. Attorney

15

16   DATED: March 29, 2017                          By: /s/ Anthony. P. Capozzi
                                                    Anthony P. Capozzi
17                                                  Attorney for Defendant
                                                    SAMUEL SANCHEZ
18
                                                    (As authorized in person 3/29/2017)
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20   IT IS SO ORDERED.

21      Dated:     March 30, 2017
                                                            UNITED STATES DISTRICT JUDGE
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